Case 1:13-cv-10001-LTS Document 111 Filed 10/03/14 Page 1 of 4

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

)
SCOTT MATALON, )
)
Plaintiff, )
)

Vv ) Civil Action No. 13-10001-LTS
)
MARY ANN O’NEILL and )
JOSEPH HYNES, )
)
Defendants. )
)

 

SPECIAL VERDICT QUESTIONS FOR THE JURY

CIVIL RIGHTS CLAIMS

 

Wrongful Search:

1. Did one or both defendants, Mary Ann O’Neill and Joseph Hynes, violate plaintiff Scott
Matalon’s rights under the United States Constitution by searching Scott Matalon’s home
without a lawful basis?

(a) Mary Ann O'Neill YES: X NO:
(b) Joseph Hynes YES: NO:

Now, please answer Question 2.
False Arrest:

2. Did one or both defendants, Mary Ann O’Neill and Joseph Hynes, violate plaintiff Scott
Matalon’s rights under the United States Constitution by arresting Scott Matalon without
probable cause?

(a) Mary Ann O'Neill YES: NO: __X
(b) Joseph Hynes YES: NO: K

 

Now, please answer Question 3.
Case 1:13-cv-10001-LTS Document 111 Filed 10/03/14 Page 2 of 4

Excessive Force:

3. Did one or both defendants, Mary Ann O’Neill and Joseph Hynes, violate plaintiff Scott
Matalon’s rights under the United States Constitution by using excessive force?

(a) Mary Ann O'Neill YES: NO: %&
(b) Joseph Hynes YES: 24 NO:
Now, please answer Question 4.

Conspiracy:

4. Did both defendants, Mary Ann O’Neill and Joseph Hynes, conspire with each other to
violate plaintiff Scott Matalon’s civil rights?

YES: No: _%

If you answered “YES” to any part of Questions 1, 2, 3, or 4, please answer
Question 5. If you answered “NO” to all parts of Questions I, 2, 3, and 4, please
go directly to Question 7 and answer it.

5. Did the actions of one or both defendants, Mary Ann O’Neill and Joseph Hynes, cause or
substantially contribute to causing plaintiff Scott Matalon’s injuries and losses?

(a) Mary Ann O’Neill YES: % NO:

(b) Joseph Hynes YES: mw NO:

If you answered “YES” to any part of Question 5, please answer Question 6. If
you answered “NO” to both parts of Question 5, please go directly to Question 7
and answer it.

Civil Rights Damages:

6. Plaintiff Scott Matalon is awarded compensatory damages against defendant(s), Mary
Ann O’Neill and/or Joseph Hynes, in the amount of

a. $50,000 (amount expressed in numbers)
b. Fifty t heaserne/ clo I lavs (amount expressed in words)
{

Now, please answer Question 7.
Case 1:13-cv-10001-LTS Document 111 Filed 10/03/14 Page 3 of 4

COMMON LAW MALICIOUS PROSECUTION CLAIM

7. Did one or both defendants, Mary Ann O’Neill and Joseph Hynes, maliciously institute
criminal proceedings against plaintiff Scott Matalon?

(a) Mary Ann O’Neill YES: NO: X

(b) Joseph Hynes YES: NO:

If you answered “YES” to any part of Question 7, please answer Question 8. If
you answered “NO” to both parts of Question 7, please sign and date the form
and inform the court officer that you have reached a verdict.

8. Did the actions of one or both defendants, Mary Ann O’Neill and Joseph Hynes, cause or
substantially contribute to causing Scott Matalon’s injuries and loss?

(a) Mary Ann O’Neill YES: NO:

(b) Joseph Hynes YES: NO:

If you answered “YES” to any part of Question 8, please answer Question 9. If
you answered “NO” to both parts of Question 8, please sign and date the form
and inform the court officer that you have reached a verdict.

Malicious Prosecution Damages:

9. Plaintiff Scott Matalon is awarded compensatory damages against defendant(s), Mary
Ann O’Neill and/or Joseph Hynes, in the amount of

a. §$ (amount expressed in numbers)

(amount expressed in words)

 

If you answered “YES” to Question 2(a), please now answer Question 10.

If you answered “NO” to Question 2(a), but “YES” to Question 2(b), please go
directly to Question II and answer it.

If you answered “NO” to both parts of Question 2, please sign and date the form
and inform the court officer that you have reached a verdict.
Case 1:13-cv-10001-LTS Document 111 Filed 10/03/14 Page 4 of 4

FALSE ARREST PROSECUTION DAMAGES

10. Did the actions of defendant Mary Ann O’Neill proximately cause plaintiff Scott Matalon
to suffer compensatory damages for any direct costs of his criminal prosecution.

YES: NO:

If you answered “YES” to Question 2(b), please answer Question 11. If you
answered “NO” to Question 2(b), please sign and date the form and inform the
court officer that you have reached a verdict.

11. Did the actions of defendant Joseph Hynes proximately cause plaintiff Scott Matalon to
suffer compensatory damages for any direct costs of his criminal prosecution.

YES: NO:

Please sign and date the form and inform the court officer that you have reached a
verdict.

I hereby certify the foregoing answers are the unanimous answers of the jury.

Mex Mueke

Jury Foreperson

jo-3-!4

Dated:
